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                                                                                S.D.N.Y. – W.P.
                                                                                    22-cv-6950
                                                                                     Halpern, J.



                         United States Court of Appeals
                                              FOR THE
                                       SECOND CIRCUIT
                                       _________________

              At a stated term of the United States Court of Appeals for the Second
Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
in the City of New York, on the 22nd day of February, two thousand twenty-three.

Present:
               John M. Walker, Jr.,
               Gerard E. Lynch,
               Beth Robinson,
                     Circuit Judges.
                                                                                     Feb 22 2023

40 Days for Life, a nonprofit corporation of the State of Texas,
et al.,

                              Plaintiffs-Appellants,

Jane Doe, Sally Roe,

                              Plaintiffs,

               v.                                                      23-155

County of Westchester,

                              Defendant-Appellee,

County of Westchester County Department of Public Safety,
et al.,

                              Defendants.


Appellants move for an injunction pending appeal and for an expedited briefing schedule. Upon
due consideration, it is hereby ORDERED that the motion for an injunction pending appeal is
DENIED for failure to comply with Federal Rule of Appellate Procedure 8(a). Fed. R. App. P.
               CaseCase 23-155, DocumentDocument
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      8(a)(2)(A) (providing that an injunction pending appeal is warranted only if the movant “show[s]
      that moving first in the district court would be impracticable” or that “a motion having been made,
      the district court denied the motion or failed to afford the relief requested”); see Agudath Isr. of
      Am. v. Cuomo, 980 F.3d 222, 225 (2d Cir. 2020) (per curiam). In any event, Appellants have
      failed to meet the requisite standard for an injunction pending appeal. See Agudath Isr. of Am.,
      980 F.3d at 225–26.

      It is further ORDERED that the request for an expedited briefing schedule is GRANTED. See
      Fed. R. App. P. 2. It is further ORDERED that this appeal shall be heard in tandem with the
      appeal docketed under Vitagliano v. County of Westchester, 2d Cir. 23-30. The Clerk of Court is
      directed to schedule expedited briefing and calendar this appeal for the first available panel after
      the appeal is fully briefed.

                                                    FOR THE COURT:
                                                    Catherine O’Hagan Wolfe, Clerk of Court




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